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                                                       U.S. Department of Justice

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                                                       Acting United States Attorney

                                                       District of Columbia

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                                                       Judiciary Center
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                                                       Washington, D.C. 20530
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                                                       September 20, 2021

Via Email and Electronic File Transfer

Lisa Costner
Federal Public Defender's Office
Middle District of North Carolina
251 N. Main St. Suite 849
Winston-Salem NC 27101

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Federal Public Defender's Office
Middle District of North Carolina
301 N. Elm St., Ste. 410
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                Re:   United States v. Charles Donohoe, Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

         I write to memorialize another production related to the above-captioned case as part of
the government’s ongoing efforts to produce preliminary discovery on an expedited basis.
Specifically, this afternoon, the government produced certain materials from Mr. Donohoe’s case
file maintained by the Federal Bureau of Investigation. Please note that the file names bear the
titles as assigned by the FBI’s electronic systems.

       In addition, an index of the produced materials is included with the production. The
index has been designated Sensitive under the Protective Order. The “titles” and “file
names” that appear in the index are a reproduction of the information that exists in the FBI’s
electronic systems.

       The materials described herein have been made available for download on USAfx. Please
keep in mind that all of the items placed in the USAfx case-folder will be deleted automatically –

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some in as few as 60 days. Please let me know immediately if you have been unable to access and
download the materials for your use in this case.

       We understand that our discovery obligations are ongoing and intend to supplement our
disclosures on a rolling basis. If you have any questions, please do not hesitate to contact us.

       Please contact me should you have any questions or concerns.

                                                   Sincerely yours,

                                                   CHANNING D. PHILLIPS
                                                   ACTING UNITED STATES ATTORNEY

                                            By:           /s/
                                                   Jason B.A. McCullough
                                                   Assistant United States Attorney
                                                   555 4th Street, N.W.
                                                   Washington, D.C. 20530
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